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United States Courts
Southern District of Texas
FILED

IN THE UNITED STATES DISTRICT COURT NOV 91 2007
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION Michael N, Milby, Clerk of Coure
KEVIN WILSON, INDIVIDUALLLY, H - 0 7 3 9 4 6
MELINDA WILSON, INDIVIDUALLY ( =
PLAINTIFFS, ( CIVIL ACTION NO::
(JURY TRIAL)
VS.
DILLARDS, INC., CITY OF HOUSTON, Ne
A.A. FERRER, INDIVIDUALLY, (
S.U. BUKHARI, INDIVIDUALLY (
DEFENDANTS.

PLANTIFFS ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF THIS COURT:
NOW COMES PLANTIFFS, KEVIN WILSON, Individually, MELINDA WILSON,

Individually, and in their original complaint will show the Court the following:

PARTIES
1, Plaintiff Kevin Wilson is a citizen of the United States and a resident of Texas.
2. Plaintiff Melinda Wilson is a citizen of the United States and a resident of Texas.
3. Defendant Dillards, Inc., is a Delaware Corporation with a home office at 1600

Cantrell Road, P. O. Box 486, Little Rock, Arkansas 72203 and can be served with process
by serving its agent for service of process, CT Corporation Systems, 350 North St. Paul
Street, Dallas, Texas 75201.

4. Defendant A.A. Ferrer is an individual and an employee of the City of Houston Police
Department. Defendant A.A. Ferrer is a resident of Texas and can be served at the City of

Houston Police Department at 1200 Travis, Houston, Texas 77002.
 

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5. Defendant S. U. Bukhari is an individual and an employee of the City of Houston
Police Department. Defendant S.U. Bukhari is a resident of Texas and can be served at the
City of Houston Police Department at 1200 Travis, Houston, Texas 77002.
6. Defendant the City of Houston, is a municipality located in Harris County, Texas.
The City of Houston operates the Houston Police Department (“HPD”). The City of Houston
may be served with citation herein by and through it’s agent for service, Ms. Anna Russell,
City Secretary, 900 Bagby Street, Room P-100, Houston, Texas 77002. Additional service is
being made on Mayor Bill White, 901 Bagby Street, Houston, Texas. Copies of this
document are being sent by Certified U.S. Mail, Return Receipt Requested, to: Chief Harold
Hurtt, Houston Police Department, 1200 Travis Street, Houston, Texas 77002, and City
Counsel Members: Carol Alvarado, Michael Berry, Peter Brown, Anne Clutterbuck, Ada
Edwards, Adrian Garcia, Ronald Green, Pam Holm, Jarvis Johnson, M.J. Khan, Sue Lovell,
Toni Lawrence, Addie Wiseman, City Hall Annex, 900 Bagby Street, 1* Floor, Houston,
Texas 77002.

JURISDICTION & VENUE
7. This Honorable Court has jurisdiction and venue over the parties and this cause of
action.
8. The acts and omissions of Defendants complained about here originate from Dillard’s
Corporate Headquarters in Little Rock, Arkansas where Dillard’s long ago institutionalized a
Corporate Policy of using off-duty law enforcement officers for store security and failed to
adequately screen, train and supervise store security personnel and employees with regard to

reasonable Security Policies and Procedures, creating an atmosphere ripe for the incidents in
 

 

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this lawsuit. Defendants’ knowledge of problems arising out of Defendants’ plan can be
traced at least as far back as 1972. Dillard Department Stores, Inc. d/b/a Gus Blass
Company v. Stuckey, 256 Ark. 881,551 S. W. 2d 154 (Arl.S.et. 1974) (verdict upheld for
school teacher accused of and arrested for shoplifting by off-duty law enforcement officer).
Plaintiff's claims arise under both federal and state law. In this regard, federal question
jurisdiction exists as a result of federal causes of action asserted by Plaintiffs.

9. Jurisdiction of this case is invoked under 42 U.S.C. 1331(s) and (4) to secure relief
authorized by § 1981, 42 U.S.C. § 2000 (2) et. seg. as well as §§ 1981 and 1983. In addition,
jurisdiction is proper in that Plaintiffs’ seeks declaratory relief and judgment under 28 U.S.C.
§§2201 and 2202 declaring that Dillard’s Inc. discriminated against Plaintiffs.

Supplemental jurisdiction is also invoked over Plaintiffs state law claims pursuant to 28

US.C. § 1367.

FACTS
10. Plaintiff, Kevin Wilson, resides in Fresno, Texas and is self employed as a Barber and
is the owner of Clippers Styles Barbershop in Houston, Texas.
11. Plaintiff, Melinda Wilson, resides in Fresno, Texas and is an employee of Exxon
Mobil.
12. On December 3, 2006, Kevin Wilson and Melinda Wilson both African American
parked in the Dillards department store garage located in the Houston Galleria Mall. Kevin

Wilson took some items designated as trash which included a plastic bottle containing a
 

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small amount of crystal light (a flavored drink) and discarded the items in a trash can located
at the garage entrance way of the Dillards store.

13. Three white off-duty officers hired by Dillard’s witnessed Mr. Wilson discard the
items in the trash can, because they were positioned at the garage entrance where Mr. Wilson
and his wife Melinda entered the store.

14. Promptly after Mr. Wilson discarded the items in the trash he and his wife proceeded
to the children’s department to purchase some Christmas gifts for their two sons.

15. A short time later the officers approached Mr. Wilson and accused him of possessing
codeine in the water bottle he discarded earlier in the trash.

16. | Mr. Wilson told the officers over and over again that the bottle only contained a
flavored drink called crystal light.

17, Mr. Wilson was subsequently handcuffed and arrested by the off-duty security
officers employed by Dillards inside the store in front of numerous Christmas shoppers
including some of his barber clients who happened to witness some of the events.

18. Mr. Wilson as a direct result of his false arrest was paraded through the store in
handcuffs and taken to a back area of Dillards where they house individuals awaiting
transport to jail for crimes they have allegedly committed on the Dillards premises.

19. While awaiting transport to jail Mr. Wilson was subjected to racial jokes that were
very offensive. Mr. Wilson was taken to jail where he spent 21 hours for a crime he did not
commit. The flavored drink was ultimately tested by the lab and it was confirmed that it was
not an illegal substance, but merely a flavored drink as Mr. Wilson indicated before he was

arrested by police.
 

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NO CONTRIBUTORY NEGLIGENCE OR COMPARATIVE FAULT
20. Plaintiff's would next show that nothing Plaintiffs did or failed to do in any way
contributed to the occurrence that made the basis of this lawsuit. Therefore, Plaintiff's was
and is free from any comparative fault or contributory negligence as a result of the
occurrences that made the basis of this lawsuit.
KEVIN WILSON’S CLAIM FOR FALSE IMPRISONMENT
21. Plaintiff incorporates by reference the allegations of the preceding paragraphs.
22. Plaintiff would show that Defendants and/or employees and/or persons acting on
behalf of Defendants or under Defendants’ direction and control wrongfully and falsely
detained Plaintiff against his will at Dillard’s and/or falsely accused Plaintiff of possessing
codeine, a controlled substance, in a water bottle. Defendants’ conduct was unjustified and
unlawful. As a direct and proximate result of Defendants’ conduct in this regard, Plaintiff
suffered injuries and damages.
KEVIN WILSON’S CLAIM FOR ASSUALT AND BATTERY
23. Plaintiff incorporates by reference the allegations of the proceeding paragraphs.
Plaintiff would show that as a direct and proximate cause of Defendants’ employee’s
offensive touching and assault and battery of him, Plaintiff suffered injuries and damages.
KEVIN WILSON’S CLAIM FOR NEGLIGENCE
24. Plaintiff incorporates by reference the allegations of the proceeding paragraphs.
Plaintiff would show that additionally, the aforesaid incident and Plaintiffs injuries and
damages were a direct and proximate result of the negligence of the Defendants in the

following respects:
 

 

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a. In failing to implement, enforce and follow a reasonable policy, plan/and or
procedure for monitoring, investigating, detecting, apprehending, questioning,
detaining, photographing, arresting and/or prosecuting suspected customers.

b. In failing to provide adequate training for officers;

c. In failing to follow and/or in violating store policies and procedures pertaining to
customer service.

d. In failing to adequately, properly and/or reasonably control the conduct of
Defendants agents, employees or servants so as to prevent harm to others;

e. In failing to review Defendants’ own records to identify patterns, practices and
misconduct;

f. In failing to provide adequate supervision; and/or,

g. In failing to take affirmative steps to avoid or prevent the incidents complained of
herein despite being in a special position to do so.

h. Improperly, unreasonably and/or wrongly detaining the Plaintiff

i. In failing to warn customers and/or caution customers of hazards and/or dangers
associated with being a minority customer shopping at Dillard’s.

j. In failing to initiate security contacts and/or customer detentions based upon
reasonable suspicion;

k. In failing to conduct security contacts and/or investigatory stops and detentions
in a reasonable manner, for a reasonable amount of time and/or for a reasonable purpose;

1. In failing to review and analyze Defendants’ own security files or records to
determine whether Defendants are acting in conformity with their own security
guidelines and/or to determine whether there is a pattern or practice of discrimination
and/or false allegations of, for example, drug possession and/or

m. In failing to take affirmative steps to avoid or prevent the incidents complained
of herein despite being in a special position to do so.

25. Plaintiff incorporates by reference the allegations of the proceeding paragraphs.
26. Pleading further and/or in the alternative, Plaintiff would show that Defendants had a
duty to exercise reasonable care in controlling the conduct of Defendants’ servants so as to

prevent Defendants’ servants from intentionally harming others or from conducting
 

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themselves in a manner, which created an unreasonable risk of harm to others. Defendants
knew or had reason to know that Defendants had the ability to control their servants and
knew or should have known of the necessity and opportunity for exercising such control, but
failed to do so in all respects and, therefore, violated their duties as set forth in the common
law and § 317 of the Restatement of Torts 2d. Said acts and/or omissions proximately caused
Plaintiff's injuries and damages.

27. Plaintiff incorporates by reference the allegations of the proceeding paragraphs.

28. Defendants are responsible for the acts and omissions of their employees, agents, and
vice principals under the doctrine of respondent superior, agency and/or non-delegable duty.

KEVIN WILSON’S CLAIM FOR INTENTIONAL
INFLICTION OF EMOTIONAL DISTRESS

29. Plaintiff incorporates by reference the allegations of the proceeding paragraphs.
30. Plaintiff would show that Defendants are also guilty of intentional infliction of emotional
distress and/outrage, which conduct as herein described above proximately caused injury and
damage Plaintiff.
31. The above and foregoing acts and omissions, whether taken singularly or in any
combination, were a proximate cause of Plaintiffs injuries and damages.

KEVIN WILSON’S CLAIM FOR INVASION OF PRIVACY
32. Plaintiff incorporates by reference the allegations of the preceding paragraphs.
33. The events, acts and omissions occurred at Dillard’s Inc.’s premises in violation of
Plaintiff's right of Private matters concerning Plaintiff were communicated publicly. More
specifically, accusations of illegal drug possession were announced publicly when there was not a
legitimate public concern. Further, Plaintiff was arrested and jailed for possession of codeine

when Plaintiff had not done anything wrong. Plaintiff did not consent to this public
 

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communication. In addition, the public communications were untrue. Further, Plaintiff was
shopping and his freedom to shop was terminated and prevented by Defendants unlawful conduct
and baseless suspicions. The disclosures and misconduct were willful, without consent,
unreasonably invasive and highly offensive, the proximate result of which was injury and
damages to Plaintiff.

KEVIN WILSON’S CLAIM FOR MALICIOUS PROSECUTION
34. Plaintiff Kevin Wilson would show that due to Defendants acts and /or omissions herein
above alleged , plaintiff was arrested, booked, charged and jailed. The charges against him were
later dismissed, but plaintiff still has an arrest record on file which has now been made a public
record. The reckless acts of all defendants were done with malice. As a proximate result of
criminal prosecutions, Kevin Wilson suffered injury and damages.
35. Plaintiffs incorporates by reference the allegations of the preceding paragraphs.
36. Furthermore, Plaintiffs would show that the Defendants authorized, directed and/or
actively participated in the incidents made the basis of this lawsuit. In addition, and /or
alternatively, Defendants had knowledge of the policies and procedures and/or pattern and course
of conduct giving rise to the incidents complained of in this lawsuit, but failed through their own
negligence, intentional and/or conspiratorial conduct to take meaningful steps, if any, to prevent,
change or object to these policies and procedures and/or this pattern and course of conduct, such
that Defendants gave their consent and acquiescence to the occurrences made the basis of this
lawsuit, despite Defendants being in a special position to prevent the occurrences made the basis
of this lawsuit. Further, the Defendants knew or in the exercise of reasonable care should have
known of the special and certain likelihood of genuine and serious mental distress and

humiliation which would arise and has arisen from occurrences complained of herein.
 

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Consequently, the conduct as herein described proximately caused injury and damage to
Plaintiffs.

KEVIN WILSON’S CLAIM FOR RACIAL PROFILING OF NON-WHITE

CUSTOMERS: FEDERAL LAW

37. Plaintiff incorporates by reference the allegations of the preceding paragraphs.
38. The Plaintiff is African-American. The Plaintiff was a Dillard’s customer on the date
of his incident. He was ready, willing and able to purchase any items he would have chosen
for Christmas gifts for his two sons. Plaintiff would show that Defendants profile minority
non-white customers, shoppers, and patrons, including African-American on the basis of race
and engage in, foster and/or condone a pattern and practice or “racial profiling” or targeting
African-Americans and/or other non-white customers, shoppers and patrons for suspicion of
illegal activity and subjecting such shoppers to false accusations, false claims of disorderly
conduct, drug possession, false imprisonment and/or other harassment and _ personal
humiliation based on their race, color, age and/or gender. The discriminatory conduct has
been carried out by Defendants in company stores located throughout the United States by
Defendants employees, representatives and/or agents acting upon the encouragement,
instructions, acquiescence and/or with the knowledge and ratification of Dillard’s Inc.,
including Defendants; management, officers, directors and/or shareholders.
39.  Dillard’s Inc. utilizes law enforcement as store security nationwide where allowed by
law. Dillard’s Inc.’s, security personnel are required by the company to wear their law
enforcement uniforms and gear. The security personnel are to provide a visible deterrent to
protect company inventory and assets, prevent disorderly conduct and criminal acts, to

protect store customers, protect store employees, and follow company security guidelines and
 

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rules at Defendants stores. The company is the primary principal concerning liability for the
security officers. Dillard’s Inc.’s, security personnel take their direction from store
managers, as well as assistant store managers and sales associates, and store managers and
assistant store managers supervise the security officers. However, store managers and
assistance store managers hiring, supervising and directing their security officers nationwide
receive no training on hiring security officers, training security officers or supervising
security officers.

40. Nationwide, all security officers are required by Defendants to read, sign and adhere
to Defendants Security Rules and Guidelines. In addition, these security officers sign
Defendants originated employee paperwork. Further, these security offers represent to the
U. S. Government in income tax withholding documents that they are employed by
Defendants. Moreover, Defendants maintain employee personnel files on these security
officers.

41. Based on false information and accusations supplied by Houston Police Officers;
A.A. Ferrer, and S. U. Bukhari the Plaintiff was further detained without conducting an
independent investigation, subsequently arrested and taken into custody. It is common
practice and policy at Dillard’s Inc., for security personnel to rely exclusively upon the word
of untrained and/or inadequately trained personnel to contact, stop and detain innocent
customers, including, more specifically, minority, non-white customers. It is also a common
practice for non-white customers to be accused wrongly of “disorderly conduct and other
crimes”.

42. Despite being in a special position to eliminate conduct that resulted in Plaintiff's

incident, Defendants actively and willfully participated in the incident. Defendants had
 

 

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personal direct knowledge of the pattern and practice and failed security policies resulting in
Plaintiff's incident but did nothing to correct the problem.

43. In addition and/or pleading further, a private corporation can, as in this case act under
color of state law for its own unconstitutional policies by virtue of the Shopkeeper’s and/or
Merchants Privilege and a policy, or action by those who represent official policy that, as in
this case inflicts humiliating, illegal injury.

44. Plaintiff an African American male was targeted for surveillance and presumed to be
guilty of unlawful conduct after entering a company store at the invitation of Defendants.
Dillard’s Inc.’s itself and/or by and through its employees as well as phantom security
policies and no training, promotes an atmosphere of suspicion and intolerance toward
minority customers. White customers are not treated in a similar fashion.

45. Plaintiff was unreasonably detained, questioned and/or investigated for unreasonable
amounts of time, in an unreasonable manner and/or without a reasonable basis by each
Defendant. White customers are not treated in a similar fashion.

46. Plaintiff would show that Defendants have denied Plaintiff the same right to make
and enforce contracts, including the enjoyment of all benefits, privileges, terms and
conditions of a contractual relationship as in enjoyed by White citizens of the United States,
in violation of 42 U.S.C. § 1981. In this regard, Plaintiff was prevented from making
purchases as a result of Defendant’s willful misconduct.

47. Pleading further, Plaintiff would show that Defendants have violated 42 U.S.C. §
1983, rendering Defendants liable to Plaintiff for his injuries and damages proximately

caused by said violations.
 

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48. The above and foregoing acts and omissions, whether taken singularly or in any
combination, were a proximate cause of Plaintiff's injuries and damages.

KEVIN WILSON’S CLAIM-UNDER 42 U.S.C. 1983

AGAINST CITY OF HOUSTON, TEXAS

49. Prior to December 3, 2006, the City of Houston Police Department, developed and
maintained policies or customs exhibiting deliberate indifference to the constitutional rights
of persons in Houston, Texas which caused the violations of Kevin Wilson’s rights.
50. It was the policy and/or custom of the City of Houston Police Department, to
inadequately and improperly investigate police misconduct, and acts of misconduct were
instead tolerated by the City of Houston, especially those committed by A.A. Ferrer and S.U.
Bukhari.
51. It was the policy and/or custom of the City of Houston Police Department, to
inadequately supervise and train its officers, including the defendant officers, thereby failing
to adequately discourage further constitutional violations on the part of its officers. The city
of Houston did not require appropriate in-service training or retraining of officers who were
working as off duty security officers at retail establishments such as Dillards, eventhough it
was common knowledge that uniformed police officers working at Dillards were known to
violate the civil rights of customers and even caused the death of customers during unlawful
arrests.
52. As a result of the above described policies and customs, officers of the City of
Houston, including the defendants A.A. Ferrer and S.U. Bukahri, believed that their actions
would not be properly monitored by supervisory officers and that misconduct would not be

investigated or sanctioned, but would be tolerated.
 

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53. The City of Houston Police Department, also maintains a policy and custom of racial
profiling of African Americans in violation of federal law. Kevin Wilson was targeted and
arrested without any reasonable suspicion that he had committed a criminal offense. The
officers involved could not have reasonably believed that Kevin Wilson was in possession of
codeine. These officers were in fact racially profiling an African American male, for no
logical reason other than the color of his skin. This type of behavior is customary and is an
intricate part of the policing strategy of the Houston Police Department.

54. The above described policies and customs demonstrated a deliberate indifference on
the part of policymakers of the City of Houston, Texas and the City of Houston Police
Department, to the constitutional rights of persons within the City and were the cause of the

violations of Kevin Wilson’s rights which were the result of the damages herein described.

MELINDA WILSON’S CLAIM FOR FALSE IMPRISONMENT

55. Plaintiff incorporates by reference the allegations of the preceding paragraphs.
56. Plaintiff would show that Defendants and/or employees and/or persons acting on
behalf of Defendants or under Defendants’ direction and control wrongfully and falsely
detained Plaintiff against her will at Dillard’s and/or falsely accused Plaintiff's Husband
Kevin Wilson of possessing and discarding of illegal drugs in an Ozarka water bottle.
Defendants’ conduct was unjustified and unlawful. As a direct and proximate result of
Defendants’ conduct in this regard, Plaintiff suffered injuries and damages.

MELINDA WILSON’S CLAIM FOR NEGLIGENCE

57. Plaintiff incorporates by reference the allegations of the proceeding paragraphs.
 

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58. Plaintiff would show that additionally, the aforesaid incident and Plaintiff's injuries
and damages were a direct and proximate result of the negligence of the Defendants in the
following respects:
a. In failing to implement, enforce and follow a reasonable policy, plan/and or
procedure for monitoring, investigating, detecting, apprehending, questioning,
detaining, photographing, arresting and/or prosecuting suspected customers.

b. In failing to provide adequate training;

c. In failing to follow and/or in violating store policies and procedures pertaining
to customer service.

d. In failing to adequately, properly and/or reasonably control the conduct of
Defendants agents, employees or servants so as to prevent harm to others;

e. In failing to review Defendants’ own records to identify patterns, practices
and misconduct;

f. In failing to provide adequate supervision; and/or,

g. In failing to take affirmative steps to avoid or prevent the incidents
complained of herein despite being in a special position to do so.

h. The above and foregoing acts and omissions, whether taken singularly or in
any combination, were a proximate cause of Plaintiffs’ injuries and damages.

i. In failing to warn customers and/or caution customers of hazards and/or dangers
associated with being a minority customer shopping at Dillard’s.

j. In failing to initiate security contacts and/or customer detentions based upon
reasonable suspicion;

k. In failing to conduct security contacts and/or investigatory stops and detentions
in a reasonable manner, for a reasonable amount of time and/or for a reasonable purpose;

1. In failing to review and analyze Defendants’ own security files or records to
determine whether Defendants are acting in conformity with their own security
guidelines and/or to determine whether there is a pattern or practice of discrimination
and/or false allegations of, for example, drug possession and/or

m. In failing to take affirmative steps to avoid or prevent the incidents complained
of herein despite being in a special position to do so.
 

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MELINDA WISLON’S CLAIM FOR NEGLIGENT CONTROL OF SERVANTS
59. Plaintiff incorporates by reference the allegations of the proceeding paragraphs.
60. Pleading further and/or in the alternative, Plaintiff would show that Defendants had a
duty to exercise reasonable care in controlling the conduct of Defendants’ servants so as to
prevent Defendants’ servants from intentionally harming others or from conducting
themselves in a manner which created an unreasonable risk of harm to others. Defendants
knew or had reason to know that Defendants had the ability to control their servants and
knew or should have know of the necessity and opportunity for exercising such control, but
failed to do so in all respects and, therefore, violated their duties as set forth in the common
law and § 317 of the Restatement of Torts 2d. Said acts and/or omissions proximately caused
Plaintiff's injuries and damages.
61. Plaintiff incorporates by reference the allegations of the proceeding paragraphs.
62. Defendants are responsible for the acts and omissions of their employees, agents, and vice
principals under the doctrine of respondent superior, agency and/or non-delegable duty.

MELINDA WILSON’S CLAIM FOR INTENTIONAL INFLICTION
OF EMOTIONAL DISTRESS

63. Plaintiff incorporates by reference the allegations of the proceeding paragraphs.

64. Plaintiff would show that Defendants are also guilty of intentional infliction of emotional
distress and/or outrage, which conduct as herein described above proximately caused injury and
damage to Plaintiff.

65. The above and foregoing acts and omissions, whether taken singularly or in any

combination, were a Proximate cause of Plaintiff's injuries and damages.
 

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AGENCY, RESPONDENT SUPERIOR, RATIFICATION
AND/OR NON-DELEGABLE DUTY

66. Plaintiffs incorporates by reference the allegations of the preceding paragraphs.
67. Pleading further and/or in the alternative, Defendants are responsible for the acts and
omissions of Defendants ‘employees, agents and vice principals under the doctrines of
respondent superior, agency, ratification and/or non-delegable duty.

DAMAGES FOR PLANTIFF KEVIN WILSON AND MELINDA WILSON
68. As a direct and proximate result of the occurrence made the basis of this lawsuit,
Plaintiff, Kevin Wilson was caused to suffer and will continue to in the future suffer, severe
mental aguish and emotional distress. The ordeal Defendants have put the Plaintiff through
has caused him to fear police and believe that the police are not employed to protect and
serve African American citizens of the Houston community. Furthermore, Mr. Wilson was
caused to suffer extreme embarrassment and humiliation in front of several hundred shoppers
during the Christmas holiday season at Dillards.
69. Plaintiff has suffered out of-pocket expenses, which include travel expenses,
attorney’s fees, costs of court, time from work and other expenses. Accordingly, Plaintiff
seeks all general, special, incidental and consequential damages as shall be proven at the time
of trial, including exemplary, and enhanced damages, pre-judgment interest, and post-
judgment interest.
70. The amount of total damages suffered by Plaintiff is significant and continuing in
nature. Such amounts exceed the minimum jurisdictional limits of this Honorable Court.
Plaintiff reserves the right to amend and state further with respect to their damages.
71. Reasonable medical care and expenses in the past. These expenses were incurred by

Plaintiff, Kevin Wilson for the necessary care and treatment of the injuries resulting from the
 

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incident complained of herein and such charges are reasonable and were usual and customary

charges for such services in Harris County, Texas.

Reasonable and necessary medical care and expenses which will in all reasonable

probability be incurred in the future;

72.

(a) Physical pain and suffering in the past;
(b) Physical pain and suffering in the future;

(c) Loss of Consortium in the past, including damages to the family relationship, loss of
care, comfort, solace, companionship, protection, services, and/or physical relations;

(d) Loss of Consortium in the future, including damages to the family relationship, loss
of care, comfort, solace, companionship, protection, services, and/or physical relations;

(e) Loss of Parental Consortium in the past, including damages to the parent-child
relationship, including loss of care, comfort, solace, companionship, protection, services,
and/or parental love;

(f) Loss of Parental Consortium in the future, including damages to the parent-child
relationship, including loss of care, comfort, solace, companionship, protection, services,
and/or parental love;

(g) Loss of Household Services in the past;

(h) Loss of Household Services in the future;

(i) Mental anguish in the past;

Gj) Mental anguish in the future; and

(k) Cost of medical monitoring and prevention in the future.

As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, Melinda Wilson was caused to suffer and will continue to in the future suffer, severe

mental aguish and emotional distress. The ordeal Defendants have put the Plaintiff through has

caused her to fear police and believe that they are not employed to protect and serve African

American citizens of the Houston community. Furthermore, Mrs. Wilson was caused to suffer
 

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extreme embarrassment and humiliation in front of several hundred shoppers during the

Christmas holiday season at Dillards.

73. Plaintiff has suffered out of-pocket expenses, which include travel expenses, attorney’s

fees, costs of court, time from work and other expenses. Accordingly, Plaintiff seeks all general,

special, incidental and consequential damages as shall be proven at the time of trial, including

exemplary, and enhanced damages, pre-judgment interest, and post-judgment interest.

74. | The amount of total damages suffered by Plaintiff is significant and continuing in nature.

Such amounts exceed the minimum jurisdictional limits of this Honorable Court. Plaintiff

reserves the right to amend and state further with respect to their damages.

75. And to incur the following damages;

(a)
(b)
(c)

(d)

(e)
(f)

Physical pain and suffering in the past;
Physical pain and suffering in the future;

Loss of Consortium in the past, including damages to the family relationship, loss of
care, comfort, solace, companionship, protection, services, and/or physical relations;

Loss of Consortium in the future, including damages to the family relationship, loss
of care, comfort, solace, companionship, protection, services, and/or physical
relations;

Mental anguish in the past; and

Mental anguish in the future

76. Plaintiff incorporates by reference the allegations of the preceding paragraphs.

77. The conduct of the Defendants and their agents, employees and representatives has

been done willfully, recklessly, wantonly, maliciously and/or intentionally. Accordingly,

Plaintiffs are entitled to recover exemplary and punitive damages in an amount determined by

the jury that is sufficient to punish Defendants and to serve as an example to others and as a

deterrent to such future conduct.
 

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78. In addition, Plaintiff would show that the foregoing acts and/or omissions of the
Defendants, whether taken singularly, collectively, or in any combination, amount to such
willfully, wantonly and malicious misconduct as to evidence a conscious indifference to the
rights, safety and welfare of Plaintiffs. Further, the Defendants acted with intent to abuse,
intimidate, harass, and humiliate the Plaintiff and cause him injury. Defendants further acted
and published the false statements about the Plaintiff with actual malice and/or with reckless
disregard for the truth. Additionally, Plaintiff would show as well that Defendants acts
and/or omissions, therefore allow him to recover exemplary or punitive damages from the
Defendants.

79. The amount of damages will be according to the proof at trial, and, ultimately, it will
be up to the jury or the Court to decide damages. For example, the tier of fact may find
instructive Hampton v. Dillard Department Stores, Inc., 247 F 3d. 1091 (10" Cir. 2001), cert.
denied, 524 U.S. 1131,122 S. Ct 1071 (2002), where Paula Hampton, an African-American
customer, alleged false imprisonment and racially motivated detention. In that case, a jury
rendered a verdict in favor of Ms. Hampton, awarding $1,156,000.00. In another case against
Dillard’s Zebbie Letheridge prevailed at trial and was awarded 22.5 million by the jury.
However, due to Defendants demand that Plaintiff set forth the amount of actual and
exemplary damages that Plaintiff believes a reasonable jury would consider to be a fair and
just amount of damages under the facts and circumstances of this litigation, Plaintiff
respectfully prays that the trier of fact return a verdict providing a maximum amount in actual
and punitive damages as to Plaintiffs, or in the jury’s or Court’s discretion, whatever amount

of damages that the jury decides is just.
 

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PRE-JUDGMENT AND POST JUDGMENT INTEREST

80. Plaintiff incorporates by reference the allegations of the preceding paragraphs.

81. Plaintiff seeks pre-judgment interest at a rate commensurate with the actual rate of

interest in the marketplace or, alternatively, a statutory rate of interest because of the delay in

receiving the damages and also to avoid unjust enrichment to Defendants. Plaintiffs also

seeks post-judgment interest at the maximum rate allowed by law.

PRAYER

Plaintiff's pray that the Defendants be cited to appear and answer and that upon final

hearing, Plaintiffs have a judgment of and from the Defendants, jointly and severally for:

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declaratory judgment;
equitable relief;

an injunction to prohibit defendant from engaging in further acts in violation
of Plaintiff's civil rights;

past physical pain and mental suffering;
future physical pain and mental suffering;
past and future mental aguish;

past physical impairment

past loss of enjoyment and quality of life;
future loss of enjoyment and quality of life;
actual, incidental and consequential damages;
past and future medical bills;

reasonable attorney fees;

costs of court;
 

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xiv. punitive and exemplary damages in an amount above the minimum
jurisdictional limits of this court;

XV. pre-judgment interest at the maximum legal rate for all damages suffered;

xvi.  post-judgment interest at the maximum legal rate for all damages suffered;

xvii. for such other and further relief, at law or in equity, to which Plaintiffs may

show themselves justly entitled.

WHEREFORE, PREMISES CONSIDERED, Plaintiffs, Kevin Wilson and Melinda
Wilson, respectfully request that the Defendants be cited to appear and answer herein, and that
upon a final hearing of the cause, judgment be entered for the Plaintiffs against Defendants for
damages in an amount within the jurisdictional limits of the Court; together with pre-judgment
interest at the maximum rate allowed by law; post-judgment interest at the legal rate; costs of

court, and such other and further relief to which the Plaintiffs may be entitled at law or in equity.

Respectfully submitted,

1 Le ffade:

Troy J. Pradia

Federal Bar No. 30260
Texas Bar No. 24011945
Jonathan H. Cox

Texas Bar No. 24007047
402 Main Street, 4" Floor
Houston, Texas 77002
Tel: (713) 739-0402

Fax: (713) 752-2812
Attorney for Plaintiffs
Kevin Wilson and Melinda Wilson

PLAINTIFFS HEREBY DEMAND TRIAL BY JURY
 

Case 4:07-cv-03946 Documenti Filed on er HO re 22 1g 9 4 6
SIS 44 (Rev. 11/04) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

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(b) County of Residence of First Listed Plaintiff okt en b County of Residence of First Listed Defendant * ¢ B Ett

(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

 

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(c) Attgrney’s (Firm Name, Address, and Telephone Number) Attorneys (If Known)
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Plaintiff (U.S. Government Not a Party) Citizen of This State R 1 1 1 Incorporated or Principal Place O4 4
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Defendant (Indicate Citizenship of Parties in Item 111) of Business In Another State
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0 120 Marine (1 310 Airplane O 362 Personal Injury - C7 620 Other Food & Drug 0 423 Withdrawal O 410 Antitrust
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0 210 Land Condemnation 0 441 Voting C7 510 Motions to Vacate |) 790 Other Labor Litigation |{) 870 Taxes (U.S. Plaintiff ( 893 Environmental Matters
(3 220 Foreclosure 442 Employment Sentence [1 791 Empl. Ret. Inc. or Defendant) [J 894 Energy Allocation Act
(0 230 RentLease & Ejectment | 443 Housing/ Habeas Corpus: Security Act © 871 IRS—Third Party 0 895 Freedom of Information
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Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment
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VII. REQUESTED IN LJ CHECK IF THIS IS A CLASS ACTION DEMAND $ “CHECK YES only if demanded in complaint:
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VII. RELATED CASE(S) . /
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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE) 9 1 2007

Michael N. Milby, Clerk of Court
